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                 EXHIBIT A
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1                           UNITED STATES DISTRICT COURT
2                         NORTHERN DISTRICT OF CALIFORNIA
3
4    M.R.,                                   CASE NO. 4:22-cv-05137-YGR
5                                            RELATED TO:
             Plaintiff,                      23-cv-02342-YGR
6    v.                                      23-cv-03475-YGR
7                                            23-cv-03558-YGR
     THE UNITED STATES BUREAU                23-cv-02206-YGR
8    OF PRISONS, ET AL.,
                                             23-cv-04698-YGR
9                                            23-cv-02201-YGR
             Defendants.
                                             23-cv-03562-YGR
10                                           23-cv-03700-YGR
11                                           23-cv-05356-YGR
                                             23-cv-02668-YGR
12                                           23-cv-03538-YGR
13                                           22-cv-08924-YGR
                                             23-cv-02135-YGR
14                                           23-cv-02405-YGR
15                                           23-cv-04155-YGR
                                             23-cv-03716-YGR
16                                           23-cv-03994-YGR
17                                           22-cv-07704-YGR
                                             23-cv-03997-YGR
18                                           23-cv-03641-YGR
19                                           23-cv-04437-YGR
                                             23-cv-04434-YGR
20                                           23-cv-05339-YGR
21                                           23-cv-03390-YGR
                                             23-cv-04317-YGR
22                                           23-cv-04283-YGR
23                                           23-cv-04435-YGR
                                             23-cv-04361-YGR
24                                           23-cv-04436-YGR
25                                           23-cv-04321-YGR
                                             23-cv-03827-YGR
26                                           23-cv-04691-YGR
27                                           23-cv-02986-YGR
                                             23-cv-05392-YGR
28
                                             -1-
             UNITED STATES’ [PROPOSED] ORDER PERMITTING PSYCHOLOGICAL EVALUATIONS
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 1                                            23-cv-04611-YGR
                                              23-cv-05294-YGR
 2                                            23-cv-05821-YGR
 3                                            22-cv-09096-YGR
                                              23-cv-06150-JSW
 4                                            23-cv-05374-RFL
 5                                            23-cv-05343-YGR
                                              23-cv-05623-YGR
 6                                            23-cv-06146-YGR
 7                                            23-cv-06285-YGR
                                              23-cv-06330-YGR
 8
                                              UNITED STATES’ [PROPOSED]
 9                                            ORDER PERMITTING EXPERTS TO
                                              ENTER BOP FACILITIES TO
10                                            CONDUCT EVALUATIONS OF
                                              PLAINTIFFS
11
12
13         THIS COURT HEREBY ORDERS that in anticipation of mediating the
14 foregoing cases, all Bureau of Prisons (“BOP”) facilities that have custody of any of
15 the Plaintiffs in the above-captioned case shall permit retained medical experts to
16 enter the facility to conduct a psychological, psychiatric, or other mental health
17 evaluation of those Plaintiffs, subject to the following provisions:
18         1.    If Plaintiff wishes to conduct the evaluation, the Plaintiff’s counsel must
19 contact both the Assistant U.S. Attorney(s) assigned to that Plaintiff’s case and the
20 BOP facility at which the Plaintiff is housed to coordinate the evaluations, which
21 shall include providing the names and credentials of the retained experts in advance
22 for BOP vetting for security purposes only. If a Defendant wishes to conduct the
23 evaluation, Defendant’s counsel must contact both the Plaintiff’s counsel and the
24 BOP facility at which the Plaintiff is housed to coordinate the evaluations, which
25 shall include providing the names and credentials of the retained experts in advance
26 for BOP vetting for security purposes only. Absent receiving leave of Court,
27 Defendant shall not conduct the evaluation of Plaintiff unless the Plaintiff was
28 already evaluated by Plaintiff’s retained experts pursuant to this Order.
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            UNITED STATES’ [PROPOSED] ORDER PERMITTING PSYCHOLOGICAL EVALUATIONS
     Case 4:22-cv-05137-YGR Document 123-1 Filed 12/15/23 Page 4 of 5



 1         2.     Evaluations for any individual Plaintiff shall be a maximum of 8 hours
 2 total for each side. A party must seek the Court’s leave to conduct an evaluation that
 3 exceeds a total of 8 hours, which will not be granted absent a showing that the
 4 additional time is required to properly conduct the evaluation. Evaluations shall have
 5 a four hour a day limit. The second day, if needed, will take place as close in time as
 6 possible to the first day.
 7         3.     For in-person evaluations, the BOP shall provide a private confidential
 8 room for the evaluation.
 9         4.     For evaluations that will not be conducted in-person, the requesting
10 party shall confer with the BOP to determine an alternative means of conducting the
11 evaluation based on the capabilities of the facility, BOP rules and regulations, and
12 the need for prison administration. These means could include videoconference
13 technology or, if that is not available or not feasible, other forms of
14 telecommunications. The BOP shall not be required to proctor or otherwise assist in
15 any evaluation, whether in-person or remote.
16         5.     All experts and counsel must follow all BOP rules, regulations, and
17 protocols for the evaluations.
18         6.     All evaluations, reports, or documents created pursuant to this Order
19 shall be given an Attorney’s Eyes Only (AEO) designation, and may only be
20 viewed by the following until any AEO designation is removed by order of the
21 Court: (1) the Plaintiff to whom the evaluations, reports, or documents pertain; (2)
22 attorneys, paralegals, and/or legal staff representing the Plaintiffs; (3) attorneys,
23 paralegals, and/or legal staff of the United States Attorney’s Offices representing
24 the United States in this litigation; (4) attorneys, paralegals, and/or legal staff of the
25 Department of Justice Torts Branch; (5) regional counsel, and their paralegals
26 and/or legal staff, for the Federal Bureau of Prisons; (6) national counsel, and their
27 paralegals and/or legal staff, for the Federal Bureau of Prisons; (7) mediators
28 retained by the parties and the mediators’ support staff; or (8) court personnel.
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            UNITED STATES’ [PROPOSED] ORDER PERMITTING PSYCHOLOGICAL EVALUATIONS
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1         7.     All evaluations are subject to the mediation privilege and conducted
2 for that purpose. A party can chose to use their evaluation for cases that ultimately
3 go to litigation, but otherwise does not bind the parties to the opinions nor can they
4 be used for any other purpose unless the party who commissioned the evaluation
5 agrees.
6         IT IS SO ORDERED.
7
 8 Dated: __________________ _________________________________________
                             HONORABLE YVONNE GONZALEZ ROGERS
 9                           United States District Court Judge
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            UNITED STATES’ [PROPOSED] ORDER PERMITTING PSYCHOLOGICAL EVALUATIONS
